Case 3:22-cv-00049-NKM-JCH Document 95-2 Filed 11/15/22 Page 1 of 1 Pageid#: 799




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION

   DOE et al,                                                    )
   Plaintiff,                                                    )
                                                                 ) No. 3:22-CV-00049
   v.                                                            )
                                                                 )
   MAST et al,                                                   )
   Defendant.                                                    )
                                                                 )


         ORDER GRANTING PRO HAC VICE ADMISSION OF DAMON PORTER

         Upon consideration of the Motion for Pro Hac Vice Admission of Damon Porter, it is

  hereby ORDERED that the motion is GRANTED.

         Damon Porter is admitted pro hac vice to appear and participate on behalf of Plaintiffs in

  the above-captioned matter.

  IT IS SO ORDERED.


  Date: _______________                               ________________________
                                                      United States District Court
                                                      Western District of Virginia
